                          UNITED STATES DISTRICT COURT
                       FOR THE WESTERN DISTRICT OF MISSOURI
                                SOUTHERN DIVISION

MICHAEL AMICK and SARA AMICK,                        )
                                                     )
                                   Plaintiffs,       )
       vs.                                           )      Case No. 17-CV-03391
                                                     )
OREGON COUNTY, MISSOURI,                             )
ALTON, MISSOURI, SAM BARTON,                         )
KASS BRAZEAL, MICHAEL JOHNSON,                       )
ERIC KING, DARRIN SORRELL,                           )
TIM WARD, and RUSTY WARREN,                          )
                                                     )
                                   Defendants.       )

                         NOTICE OF CHANGE OF FIRM NAME

       The firm of Keck & Austin, L.L.C. advises the Court and counsel of a change of the

firm’s name and email address effective December 1, 2018 as follows:

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                                           Respectfully submitted,

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                                                 Attorneys for Defendants Oregon County,
                                                 King, Ward and Sorrell

                                CERTIFICATE OF MAILING

             The undersigned hereby certifies that a true and accurate copy of the foregoing
document was sent via ECF this 28th day of November, 2018 to:

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